      Case 2:21-cv-00166-RMP      ECF No. 1    filed 05/18/21   PageID.1 Page 1 of 14




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 7
                         UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHINGTON
                                      AT
 9
     CLAUDIA CARRILLO, a single
10   person,                                    No.
11                Plaintiff,                    NOTICE OF REMOVAL
12         vs.
13
     LAMB WESTON HOLDINGS, INC., a
14   foreign corporation, and XYZ CORP., a
     foreign corporation, limited liability
15   company, limited liability partnership,
     partnership, or sole proprietorship,
16
                         Defendants.
17

18   TO:          Clerk of the Court;
19   AND TO:      Plaintiff above named, and his counsel of record.
20          Pursuant to 28 U.S.C. §§ 1332, 1367(a), 1441, and 1446, Defendant
21   LAMB WESTON HOLDINGS, INC., by and through its counsel of record, and
22   without waiving any rights or defenses, hereby removes to this Court the lawsuit
23   captioned Claudia Carrillo v. Lamb Weston, Inc., et al., No. 21-2-00116-13 in
24


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      Case 2:21-cv-00166-RMP       ECF No. 1   filed 05/18/21   PageID.2 Page 2 of 14




 1
     the Superior Court of the State of Washington for Grant County. As grounds for
 2
     removal, Defendant states as follows:
 3
           1.      Plaintiff Claudia Carrillo filed this lawsuit on February 23, 2021
 4
     under Grant County Superior Court Cause No. 21-2-00116-13. A true and correct
 5

 6   copy of the Complaint is attached to this Notice as Exhibit A (“Complaint”).

 7         2.      Defendants were served with the Complaint and Summons on
 8   Friday, March 22, 2021. See Declaration of Jeff Bone (“Bone Decl.”), ¶ 2. All
 9   Defendants join in this Notice of Removal.
10
           3.      The case stated by the initial pleading was not removable on a
11
     diversity basis because there was not complete diversity. Since then, Plaintiff has
12
     moved to voluntarily dismiss the unnecessary parties, and the remaining parties
13

14   are in complete diversity. The Grant County Superior Court granted the voluntary

15   dismissal on May 10, 2021. Because the voluntary dismissal established that the
16   Parties are now in complete diversity, the case become removable on diversity
17   grounds. Because Lamb Weston Holdings, Inc. filed its Notice of Removal within
18
     30 days of the Grant County Superior Court’s order granting voluntarily
19
     dismissal, this Notice of Removal is timely filed pursuant to 28 U.S.C. §
20
     1446(b)(3).
21

22         4.      Plaintiff’s Complaint avers that she was injured on or about March

23   5, 2018. See Complaint ¶ 8.
24


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      Case 2:21-cv-00166-RMP      ECF No. 1    filed 05/18/21   PageID.3 Page 3 of 14




 1
           5.     The Complaint alleges that at “all times relevant hereto, plaintiff
 2
     Claudia Carrillo was a resident of Grant County, Washington.” Id. ¶ 1.
 3

 4         6.     Defendant is not a citizen of the State of Washington.

 5         7.     As averred in the Complaint, Defendant is a foreign corporation. Id.
 6   ¶¶ 2-7.
 7         8.     “Where the complaint is silent as to the amount demanded, the
 8
     burden is on the defendant to prove by a preponderance of the evidence that the
 9
     amount in controversy exceeds $75,000.” Matthiesen v. Autozone Stores, Inc., No.
10
     2:15-CV-0080-TOR, 2015 WL 3453418, at *1 (E.D. Wash. May 29, 2015) (citing
11

12   Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005)). In determining

13   the amount in controversy, the court may consider whether it is “facially apparent”
14   from the complaint that the demand exceeds $75,000. Abrego Abrego v. Dow
15   Chem. Co., 443 F.3d 676, 690 (9th Cir. 2006) (quoting Singer v. State Farm Mut.
16
     Auto. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997)). “If not, the court may consider
17
     facts in the removal petition, and may ‘require parties to submit summary-
18
     judgment-type evidence relevant to the amount in controversy at the time of
19

20   removal.” Id. (quoting Singer, 116 F.3d at 377).

21         9.     Plaintiff avers that she was injured when her “hand suddenly became
22   caught in the conveyor belt / tuber processing equipment and she sustained serious
23   injuries.” Complaint ¶ 9. Plaintiff avers that Defendant is liable for her injury
24


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      Case 2:21-cv-00166-RMP        ECF No. 1    filed 05/18/21   PageID.4 Page 4 of 14




 1
     and damages under negligence and product liability theories. Complaint ¶¶ 12-
 2
     16. While the Complaint does not set forth the dollar amount of damages sought,
 3

 4   Plaintiff claims she “incurred past and future medical expenses, past and future

 5   income loss, permanent disability, impaired earning capacity, general damages
 6   for pain and suffering, including loss of enjoyment of life, and other damages, all
 7   in amounts to be proven at trial.” Complaint ¶ 17.
 8
           10.      Past medical expenses alone amount to $28,692.56. Bone Decl., ¶ 4.
 9
           9.       Other Washington cases involving similar alleged injuries have
10
     resulted in verdicts or settlements in excess of $75,000. For example:
11

12                Alex Tran v. Allpak Container, 16 N.W.P.I. Lit. Rpts. 328, 2016 WL

13                  7241503 (2016). Plaintiff, male, age 24, palletizer. Plaintiff had been
14                  working for two months as a temporary employee at Allpak
15                  Container as a palletizer. This was a fast-paced work environment
16
                    position that required Plaintiff to offload corrugated boxes from an
17
                    offload line to a pallet on a SYSTEC conveyor-roller system. While
18
                    palletizing one day, the pallet got stuck on the conveyor belt and
19

20                  Plaintiff stepped on the free moving conveyor rollers to dislodge the

21                  pallet. During the process, he slipped on the rollers, severely injuring
22                  his knee. Plaintiff brought this action claiming that the defendant
23                  failed to provide him with a safe working environment and in failing
24


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     Case 2:21-cv-00166-RMP    ECF No. 1    filed 05/18/21   PageID.5 Page 5 of 14




 1
               to warn him of fall hazards associated with the conveyor roller
 2
               system. The defendant argued that it was plaintiff’s fault for stepping
 3

 4             on the rollers that he knew were slippery, free moving and against

 5             safety instructions. Confidential Settlement with damages of at least
 6             $628,284. Bone Decl., Ex. A.
 7           Javier Gonzalez v. Farmer’s Electric, N.W.P.I. Lit. Rpts. 92, 2002
 8
               WL 737007 (2002). Plaintiff, male, worked in Othello, Washington
 9
               at the Target AG onion processing and packaging plant. Just prior to
10
               the subject incident, Plaintiff contended he had been instructed by
11

12             his supervisor to scrape onion residue from a conveyor roller while

13             the system was shut down for repair. Plaintiff did as he was told and
14             was positioned just below the conveyer belt, working on the belt
15             approximately 2-4 minutes when, without any warning to Plaintiff,
16
               the machine was suddenly started. Because of the location of the
17
               electrical control panel, Plaintiff’s supervisor could not readily see
18
               Plaintiff from the supervisor's position when the supervisor turned
19

20             the conveyor back on. No warning alarm sounded prior to the

21             conveyor starting. Plaintiff’s left arm was trapped in the belt and
22             drawn into the large metal roller, and was forcibly amputated at the
23
24


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      Case 2:21-cv-00166-RMP       ECF No. 1    filed 05/18/21   PageID.6 Page 6 of 14




 1
                   elbow. Plaintiff’s arm was held together at the elbow by only skin
 2
                   and a bit of muscle. $790,000 Settlement. Bone Decl., Ex. B.
 3

 4         10.     In light of the alleged severity of Plaintiff’s injuries which include

 5   permanent physical and mental/emotional components, and in light of other
 6   verdicts and settlements in other Washington litigations involving similar alleged
 7   injuries, Defendant has proved by a preponderance of the evidence that Plaintiff’s
 8
     alleged damages are in excess of the jurisdictional amount set forth in 28 U.S.C.
 9
     § 1332(a).
10
           11.     Accordingly, this action is subject to removal to this Court pursuant
11

12   to 28 U.S.C. §§ 1441(b)(3) and 1332 based on diversity jurisdiction.

13         12.     Venue is appropriate in the Eastern District of Washington at
14   Spokane, because the Superior Court of the State of Washington for Grant County
15   is located within this judicial district and division. See 28 U.S.C. §§ 128(b),
16
     1441(a).
17
           13.     A copy of this Notice of Removal is being served on this date on
18
     counsel for Plaintiff pursuant to 28 U.S.C. § 1446(d). Bone Decl., ¶ 5.
19

20         14.     A copy of this Notice of Removal is also being filed this date with

21   the Clerk of the Superior Court of the State of Washington for Grant County, and
22   notice of removal provided therewith pursuant to 28 U.S.C. § 1446(d). Bone
23   Decl., ¶ 6.
24


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      Case 2:21-cv-00166-RMP     ECF No. 1   filed 05/18/21   PageID.7 Page 7 of 14




 1
           15.    By this Notice of Removal, Defendant does not waive and hereby
 2
     expressly reserve any defenses it may have, including but not limited to any
 3

 4   defenses that may be asserted pursuant to Rule 12 of the Federal Rules of Civil

 5   Procedure.
 6

 7         DATED this 18th day of May, 2021.
 8                                     CORR CRONIN LLP
 9
                                        s/ Kevin C. Baumgardner
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                                       Jeff Bone, WSBA No. 43965
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16                                     Attorneys for Defendant

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         Case 2:21-cv-00166-RMP        ECF No. 1   filed 05/18/21   PageID.8 Page 8 of 14




 1
                                  CERTIFICATE OF SERVICE
 2
               I hereby certify that on May 18 2021, I electronically filed the foregoing
 3
      with the Clerk of the Court using the CM/ECF system which will send notification
 4
      of such filing to the following:
 5
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11               Attorneys for Plaintiff
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Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.9 Page 9 of 14




                         EXHIBIT A
Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.10 Page 10 of 14
Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.11 Page 11 of 14
Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.12 Page 12 of 14
Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.13 Page 13 of 14
Case 2:21-cv-00166-RMP   ECF No. 1   filed 05/18/21   PageID.14 Page 14 of 14
